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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

    v.                                                 Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

      Defendant.

               PRESIDENT DONALD J. TRUMP’S REPLY IN SUPPORT OF
                      MOTION FOR ORDER TO SHOW CAUSE

         Having been caught knowingly, repeatedly, and blatantly violating this Court’s Stay Order,

Doc. 186, the Special Counsel and his assistants (the “prosecutors”) offer no excuse. Instead, they

engage in a failed attempt to re-write the record, claiming that the Stay Order prohibits only those

“actions [that] require [a] response from the defendant.” Doc. 193 at 2. As the prosecutors are fully

aware, the Stay Order says nothing of the sort. Rather, the Stay Order expressly prohibits “any

further proceedings” that: (1) “impose additional burdens of litigation” on President Trump or

(2) “move this case towards trial.” Doc. 186 at 2 (emphasis added). The prosecutors’ filings and

productions, Docs. 188, 191, attempt to achieve both of those unlawful goals. Accordingly, the

Court should order the prosecutors to show cause why they should not be held in contempt.

                                          ARGUMENT

         A. The Prosecutors’ Actions Impose Burdens of Litigation on President Trump

         The prosecutors argue that President Trump is not “obligated to review” or respond to the

prosecutors’ filings and discovery, and therefore faces no burden. Doc. 193 at 2. This is false. As

an initial matter, President Trump must examine all documents the prosecutors file in this case,

when they are filed, to determine whether and how he should respond. This is because both the

prosecutors and the Court have taken the unsettled position that the Court may address and resolve



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certain issues notwithstanding the Stay Order. Doc. 182 at 2 (“The Court should not assume at this

juncture that no issue can arise that is not involved in the appeal.”); Doc. 186 at 2 (“[T]he court

does not understand the required stay of further proceedings to divest it of jurisdiction to enforce

the measures it has already imposed to safeguard the integrity of these proceedings.”). President

Trump cannot know whether a filing relates, in whole or in part, to an issue that the prosecution

contends is somehow “not involved in the appeal” without reviewing the full filing. Therefore, he

must perform that review on receipt—an unquestionably burdensome task that the Stay Order and

applicable law relieve him from performing. Likewise, where, as here, a filing violates the Stay

Order, President Trump must preserve his rights by clarifying that he will not accept or

substantively respond to the filing—a burden the prosecutors have already wrongly forced

President Trump to carry multiple times. See Docs. 189, 189-1, 192.

       Second, as the prosecutors are fully aware and no doubt intend, their filing of politically

charged invective, such as the recently filed motion in limine (Doc. 191, the “MIL”), induces

substantial negative media coverage against President Trump, burdening him both personally (by

falsely impugning his character) and professionally (by undermining his leading campaign for the

2024 Presidential Election). Worse, the prosecutors publicize their untruthful arguments knowing

that any press coverage will be entirely one-sided without President Trump’s substantive

responses. Just as the Stay Order shields President Trump from the burdens of trial and discovery,

it protects him from these “other burdens of litigation” as well. See Blassingame v. Trump, 87

F.4th 1, 29 (D.C. Cir. 2023) (quoting Mitchell v. Forsyth, 472 U.S. 511, 526, (1985)).

       Although the prosecutors generically deny a political motivation, such words are empty.

The prosecutors’ filings, including the MIL, closely mirror the Biden Campaign’s dishonest

talking points—a fact the prosecutors do not and cannot deny. Doc. 192 at 6–8. The timing of the




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prosecutors’ filings, likewise, cannot be explained by the posture of this case (which is stayed),

but instead synchronize with the Biden Campaign’s recent media blitz, which relies on the same

discredited appeals to emotion that pervade the prosecutors’ filings. See David Smith, Fired-up

Biden shows gloves are off in January 6 anniversary speech, THE GUARDIAN, Jan. 5, 2024 (“This

time it’s personal. On Friday Joe Biden tore into his predecessor Donald Trump as never before.

He brimmed with anger, disdain and contempt.”).

       And once more, anonymous “sources familiar with what Smith’s team has learned during

its Jan. 6 probe” have resumed their deliberate and unlawful effort to damage President Trump

through leaks of false and defamatory information. Katherine Faulders, Mike Levine, Alexander

Mallin, and Will Steakin, Special counsel probe uncovers new details about Trump's inaction on

Jan. 6: Sources, ABCNEWS, Jan. 7, 2024.

       It is not a coincidence that the Biden Campaign, the prosecutors, and “sources” close to the

prosecutors are all attempting to simultaneously flood the airwaves with matching anti-Trump

rhetoric during the Stay. See In re Domestic Airline Travel Antitrust Litig., No. MC 15-1404

(CKK), 2023 WL 5930973, at *9 (D.D.C. Sept. 12, 2023) (“[P]arallel action . . . gives rise to a

suspicion of unlawful coordination.” (citation omitted)).

       Thus, the prosecutors’ filings impose a prohibited burden on President Trump by

wrongly—and very publicly—accusing him of committing a crime when the appellate courts

should determine that he acted lawfully under applicable immunity principles. Such false

accusations are irreparably harmful to President Trump’s reputation and represent defamation per

se in any other context. See Grossman v. Goemans, 631 F. Supp. 972, 974 (D.D.C. 1986). For the

same reason, President Trump cannot ignore “the practical implications” of the prosecutors’

unlawful actions, but must instead take “reasonable steps to defend [his] reputation,” especially




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considering the politically charged nature of this case and the prosecutors’ filings. Gentile v. State

Bar of Nevada, 501 U.S. 1030, 1043, (1991) (opinion of Kennedy, J.). Given this, it is unsurprising

that the prosecutors cannot cite a single case that has allowed continued motion and discovery

practice during a stay.

        Finally, the prosecutors’ assertion that President Trump is not legally “obligated” to

review discovery, Doc. 193 at 2, is meaningless. A defendant is never “obligated” to review

discovery, See Fed. R. Crim. P. 16(a)(1). Moreover, and regardless, the prosecutors previously

argued for an unconstitutionally rapid trial based on the idea that President Trump somehow should

have identified and reviewed millions of publicly available documents before indictment, despite

his obvious lack of any obligation to do so. Doc. 32 at 2–3. Although such documents represented

only a small fraction of the total discovery in this matter (which includes many millions of non-

public documents as well), the Court accepted this unconstitutional argument for a speedy trial,

denying President Trump his rights to due process and to counsel with adequate time to prepare

for trial. Doc. 38 at 28:22–29:1 ([The Court]: “You’ve known this was coming. Mr. Trump’s

counsel has known this was coming for some time. And I’m sure any able, diligent, zealous defense

counsel would not have been sitting on their hands waiting for an indictment.”). The prosecutors

make no secret that they will attempt the same maneuver here, Doc. 182 at 1, thereby defeating

the purpose of the Stay Order and unlawfully imposing an enormous burden on President Trump.

       B. The Prosecutors’ Actions Attempt to Move This Case Toward Trial

       The prosecutors bizarrely and inconsistently argue that their filings and productions do not

move this case toward trial, Doc. 193 at 2, while simultaneously claiming that such filings and

productions are necessary to ensure the “prompt resolution of this case,” id. at 3; see also Doc. 188

(asserting production was necessary “to help ensure that trial proceeds promptly if and when the




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mandate returns”); Doc. 191 at 1 n.1 (same). The prosecutors’ embrace of Orwellian doubletalk

aside, this argument defeats itself. If the filings and productions help prepare the case for trial and

are necessary for a “prompt resolution,” Doc. 193 at 2, then by definition they move the case

toward trial. Indeed, the prosecutors present no reason for the filings and productions other than

their unlawful desire to accelerate the trial schedule.

       This stated intention is illogical, violates the Stay Order, and has no basis in law. The

actions at issue—filing motions on the docket and producing additional discovery—are

archetypical examples of proceedings that advance a criminal case toward trial. So much so that

the Court used those exact proceedings to illustrate the Stay Order’s prohibitions. Doc. 186 at 3.

Although the prosecutors attempt to distinguish the Court’s example by pointing to the word

“requiring,” that misses the point. “Requiring additional discovery or briefing” would violate the

Stay Order because those activities “advance the case toward trial,” not because they are required.

So too, here. The prosecutors’ MIL and discovery productions are admitted attempts to advance

this case, and thus violate the Stay Order, regardless of whether President Trump is required to

immediately respond.

       C. The Prosecutors’ Remaining Arguments Are Meritless

       The prosecutors claim that they do “not understand [the Stay Order] to prohibit either party

from voluntarily complying with the Pretrial Order.” Doc. 193 at 1. Nothing in the Stay Order

suggests that it is optional. It explicitly and plainly stays “any further proceedings that would move

this case towards trial or impose additional burdens of litigation on Defendant.” Doc. 186 at 2

(emphasis added). This is entirely logical because, as explained above, the prosecutors’

“voluntary” efforts to advance the case toward trial and impose burdens on President Trump harm

him in the same manner as proceedings required by the Court. The protections provided by the




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Stay Order—and mandated by law—would be meaningless if the prosecutors could circumvent

them simply by characterizing their deleterious conduct as “voluntary.”

       Next, the prosecutors argue that the Stay Order silently excludes Rule 16 discovery from

its ambit. Doc. 193 at 1. This is baseless. “[A]ny further proceedings” means “any further

proceedings.” Doc. 186 at 2. To the extent the prosecutors had any genuine confusion regarding

the meaning of the word “any,” they should have conferred in good faith with President Trump’s

counsel and asked for clarification from the Court. Indeed, seeking clarification about a court’s

order is routine, a fact these well-seasoned federal prosecutors know. Any claimed confusion now

is nothing more than an ex-post cover for the prosecutors’ intentional misconduct.

       Finally, the prosecutors claim that they “informed the Court and the defendant” of their

unlawful plans and “did what [they] said [they] would do” because the Court supposedly “did not

forbid” such actions. Doc. 193 at 2. The prosecutors are wrong. The plain language of the Stay

Order forbids the prosecutors’ actions, notwithstanding their prior request for an exception. Any

reasonable person would understand this to mean that the Court had considered and denied the

prosecutors’ request. And again, at the very least, the prosecutors should have, but did not, request

clarification before violating the Stay Order and unlawfully burdening President Trump.

                                         CONCLUSION

       The prosecutors claim they “never intentionally would violate . . . an order of the Court,”

yet have repeatedly done just that, without a shred of support and without asking for clarification.

The prosecutors now brazenly promise to continue their misconduct unless the Court intervenes to

enforce the plain and straightforward requirements of the Stay Order. Doc. 193 at 3. The Court

should reject this blatant effort to undermine its authority and order the prosecutors to show cause

why they should not be held in contempt.




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Dated: January 12, 2024                    Respectfully submitted,

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